                                                                                     ✔ Original
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AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT                                                   Feb 26, 2021

                                                                         for the                                       s/ JeremyHeacox

                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)
   Information related to Facebook Accounts "Ddae
                                                                            )
                                                                            )
                                                                                   Case No.   21-M-347 (SCD)
   Loving Bray Davis" UID: 100005742911779 and                              )      0DWWHU1R5
        "Monea Boyd" UID: 100054748757691                                   )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of
(identify the person or describe the property to be searched and give its location):
  See Attachment A. This Court has jurisdiction pursuant to 18 U.S.C. §§2703 and 2711 and Fderal Rule of Criminal Procedure
  41;




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




        YOU ARE COMMANDED to execute this warrant on or before              3-11-21                    (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                      Hon. Stephen C. Dries                  .
                                                                                                  (United States Magistrate Judge)

     ✔ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
     u
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     ✔ for 30 days (not to exceed 30) u until, the facts justifying, the later specific date of
     u                                                                                                                                   .


Date and time issued:
                                   2-25-21. 6:30 pm
                                                                                                          Judge’s sig
                                                                                                                  signature

City and state:                      Milwaukee, Wis                                           Stephen C. Dries, U.S. Magistrate
                                                                                                        Printed name and title
                           Case 2:21-mj-00347-SCD Filed 02/25/21 Page 1 of 26 Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




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                                      ATTACHMENT A
Property to Be Searched

       To the extent that the information described in Attachment B is within the possession,

custody, or control of Facebook, Facebook is required to disclose to the government the

information for the following accounts and dates:


 FACEBOOK NAME            FACEBOOK IDENTIFICATION           DATES
                          (UID)
 Ddae loving Bray         100005742911779                   December 01, 2019 to the Present
 Davis

 Monea Boyd               100054748757691                   December 01, 2019 to the Present




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                                        ATTACHMENT B
                                  Particular Things to be Seized

I.     Information to be disclosed by Facebook

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Facebook, including any messages, records, files, logs, or information that

have been deleted but are still available to Facebook, or have been preserved pursuant to a request

made under 18 U.S.C. § 2703(f), Facebook is required to disclose the following information to the

government for each user ID listed in Attachment A:

       a.       All contact and personal identifying information, including: full name, user

                identification number, birth date, gender, contact e-mail addresses, Facebook

                passwords, Facebook security questions and answers, physical address (including

                city, state, and zip code), telephone numbers, screen names, websites, and other

                personal identifiers.

       b.       All activity logs for the account and all other documents showing the user’s posts

                and other Facebook activities;

       c.       All photos uploaded by that user ID and all photos uploaded by any user that have

                that user tagged in them;

       d.       All profile information; News Feed information; status updates; links to videos,

                photographs, articles, and other items; Notes; Wall postings; friend lists, including

                the friends’ Facebook user identification numbers; groups and networks of which

                the user is a member, including the groups’ Facebook group identification numbers;

                future and past event postings; rejected “Friend” requests; comments; gifts; pokes;

                tags; and information about the user’s access and use of Facebook applications;




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       e.       All other records of communications and messages made or received by the user,

                including all private messages, chat history, video calling history, and pending

                “Friend” requests;

       f.       All “check ins” and other location information;

       g.       All IP logs, including all records of the IP addresses that logged into the account;

       h.       All records of the account’s usage of the “Like” feature, including all Facebook

                posts and all non-Facebook webpages and content that the user has “liked”;

       i.       All information about the Facebook pages that the account is or was a “fan” of;

       j.       All past and present lists of friends created by the account;

       k.       All records of Facebook searches performed by the account;

       l.       All information about the user’s access and use of Facebook Marketplace;

       m.       The types of service utilized by the user;

       n.       The length of service (including start date) and the means and source of any

                payments associated with the service (including any credit card or bank account

                number);

       o.       All privacy settings and other account settings, including privacy settings for

                individual Facebook posts and activities, and all records showing which Facebook

                users have been blocked by the account;

       p.       All records pertaining to communications between Facebook and any person

                regarding the user or the user’s Facebook account, including contacts with support

                services and records of actions taken.

II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence, and

instrumentalities of violations of 18 U.S.C. §§ 1951(a) (Hobbs Act robbery) and 18 U.S.C. 924(c)

                                                 18

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(use of firearm during a crime of violence), since December 01, 2019, for the user ID’s identified

on Attachment A, information pertaining to the following matters:

           (a) The relevant offense conduct, any preparatory steps taken in furtherance of the

               criminal scheme, and communications between Berdashia DAVIS, Shalonda

               DAVIS, and others related to the relevant offense conduct of robbery or Berdashia

               DAVIS’s or Shalonda DAVIS’s possession of a firearm.

           (b) Evidence indicating how and when the Facebook account was accessed or used, to

               determine the chronological and geographic context of account access, use, and

               events relating to the crime under investigation and to the Facebook account owner;

           (c) Evidence indicating the Facebook account owner’s state of mind as it relates to the

               crimes under investigation;

           (d) The identity of the person(s) who created or used the user ID; and

           (e) The identity of the person(s) who communicated with the user ID about matters

               relating to relevant offense conduct of robbery.




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                                                            Feb 26, 2021

                                                          s/ JeremyHeacox




                                             21-M-347 (SCD)




2-25-21

    Milwaukee, Wis

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                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, David Bianchi, being first duly sworn, hereby depose and state as follows:

I.     INTRODUCTION, BACKGROUND, TRAINING, AND EXPERIENCE

       1.       I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been

since January 2020. Since September 2020, I have been assigned to the FBI’s Milwaukee Area

Violent Crimes Task Force. This Task Force is a multi-jurisdictional law enforcement entity

charged with investigating violations of federal law, including bank robberies, commercial

robberies and other violent crime matters, defined under Title 18 of the United States Code. I have

been trained in a variety of investigative and legal matters, including the topics of Fourth

Amendment searches, the drafting of search warrant affidavits, and probable cause. I have assisted

in criminal investigations, participating in surveillance, interviews, and debriefs of arrested

subjects. As a result of this training and investigative experience, I have learned how and why

violent actors typically conduct various aspects of their criminal activities.

       2.       This affidavit is based upon my personal knowledge, my training and experience,

and on information reported to me by other federal, state, and local law enforcement officers during

the course of their official duties, all of whom I believe to be truthful and reliable. This affidavit

is also based upon police reports, official records, citizen witnesses’ statements, consent searches,

recorded statements, law enforcement surveillance, surveillance video, social media, court records,

telephone records, and public records which I consider to be reliable as set forth herein. The facts

of this Affidavit are based upon information obtained from my investigation, as well as information

I have received from other law enforcement officers.

       3.       Based on the investigation to date, I submit that there is probable cause to believe

that Berdashia F. DAVIS (DOB XX/XX/1992) and Shalonda S.M. DAVIS (XX/XX/1991)




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conspired to commit and committed commercial business armed robbery in Germantown,

Wisconsin on December 23, 2020, in Butler, Wisconsin on December 23, 2020, in Milwaukee,

Wisconsin on December 28, 2020, and in Greenfield, Wisconsin on December 28, 2020, all of

which is in violation of Title 18, United States Code, Sections 1951(a) (Hobbs Act robbery), and

924(c) (use, brandishing, and discharge of a firearm during a crime of violence).

       4.       This affidavit is submitted in support of an application for a search warrant for

Berdashia DAVIS’s Facebook account, Shalonda DAVIS’s Facebook account, and for evidence

of DAVIS’ and others’ involvement in the above-referenced four (4) armed robberies, in violation

of Title 18, United States Code, Sections 1951(a), 924(c), on December 23, 2020 and December

28, 2020.

       5.       More specifically, I seek authorization to search Facebook’s information associated

with Berdashia DAVIS and Shalonda DAVIS, who are the users associated with the Facebook

accounts with the following user names and ID numbers:

 FACEBOOK NAME                        FACEBOOK IDENTIFICATION (UID)

 Ddae Loving Bray Davis               100005742911779

 Monea Boyd                           100054748757691



       6.       The information I seek is stored at premises owned, maintained, controlled, or

operated by Facebook, a social networking company headquartered in Menlo Park, California,

from at least approximately December 01, 2019 to the present.

       7.       Because this affidavit is submitted for the limited purpose of obtaining a search

warrant, I have not included each and every fact known to me concerning this investigation. I have

attempted to set forth only the facts I believe are pertinent to establishing the necessary foundation

for the warrant.

                                                  2

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II.    PROBABLE CAUSE

                            December 23, 2020 – Germantown Speedway

       8.      On December 23, 2020, at approximately 10:52PM, two masked individuals

entered the Speedway located at W178N9653 Riversbend Lane, Germantown, Wisconsin.

Germantown Suspect #1 displayed a handgun and pointed it at the cashier, M.M. (XX/XX/1983),

while Germantown Suspect #2 remained at the front door and acted as a lookout. Germantown

Suspect #1 demanded the money in the register at which time M.M. provided her with it. After

Germantown Suspect #1 was provided with the money, Germantown Suspect #1 and Germantown

Suspect #2 fled northbound on foot toward a Holiday Inn Express. Germantown Suspect #1

obtained approximately $103.00 from the Speedway.

       9.      Video surveillance corroborates M.M.’s account of the incident.

       10.     Germantown Suspect #1 was described as a black female, approximately 5’05” tall,

approximately 130 pounds, approximately 20-24 years of age, black and brown hair with a pink

braid on the right front side of her head. She was wearing a black hooded sweatshirt, black gloves,

black pants, white shoes, and a black face mask. Germantown Suspect #1 displayed a black

handgun with a silver ejection port.

       11.     Germantown Suspect #2 was described as a black individual, possibly male,

approximately 6’01” tall, approximately 160 pounds, and approximately 20-25 years of age.

Germantown Suspect #2 was wearing a black and gray hooded sweatshirt, black pants, black and

white shoes, and a light-colored face mask. After reviewing surveillance video footage, it appears

that Germantown Suspect #2’s physical description is similar to Germantown Suspect #1.

                                December 23, 2020 – Butler Fuel Stop

       12.     On December 23, 2020, at approximately 11:39PM, two masked individuals

entered the Fuel Stop located at 12419 West Hampton Avenue, Butler, Wisconsin. Butler Suspect

                                                3

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#1 approached the cashier, J.H. (XX/XX/1951), and pointed a handgun at him, stating, “Give me

all the cash in the register.” J.H. began to remove the money from the cash drawer at which time

Butler Suspect #1 told him to get the cash that was underneath the drawer as well, to which J.H.

advised there was no cash under the drawer. J.H. handed the money to Butler Suspect #1, who

placed it in the pocket of her hooded jacket. During the incident, Butler Suspect #2 remained at

the front door and acted as a lookout. After receiving the money from J.H., Butler Suspect #1 and

Butler Suspect #2 fled on foot southbound through the parking lot.

       13.     Video surveillance corroborates J.H.’s account of the incident.

       14.     Butler Suspect #1 was described as a black female, approximately 5’00” tall with a

heavier build. She was wearing a black and gray hooded sweatshirt with the hood up, black pants,

black and white shoes, and a black face mask. She displayed a black handgun with a silver ejection

port. Butler Suspect #1 closely matches the physical and clothing description of Germantown

Suspect #2 from the December 23, 2020 Germantown Speedway robbery.

       15.     Butler Suspect #2 was described as a black female, approximately 5’00”, with a

heavy build. She was wearing a black beanie, black hooded sweatshirt, black pants, white shoes,

and a black face mask. Butler Suspect #2 closely matches the physical and clothing description of

Germantown Suspect #1 from the December 23, 2020 Germantown Speedway robbery.

                             December 28, 2020 – Milwaukee Walgreens

       16.     On December 28, 2020, at approximately 4:27PM, two masked individuals entered

the Walgreens located at 2625 West National Avenue, Milwaukee, Wisconsin. Milwaukee

Suspect #1 approached the cashier, A.M. (XX/XX/2000), placed a handgun on the counter, and

demanded that the cashier open up the cash register and give Suspect #1 money. A.M. told

Milwaukee Suspect #1 that she would have to get a manager to open the register. Milwaukee

Suspect #1 and A.M. walked to the rear of the business where A.M. flagged down store manager

                                                4

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Y.O. (XX/XX/1989). Y.O then walked to the front of the store where she opened up two cash

registers and placed the tills on the counter. Milwaukee Suspect #1 grabbed the cash out of the tills

and placed it into her pockets. While this was occurring, Milwaukee Suspect #2 stood by the front

door and acted as a lookout. After Milwaukee Suspect #1 retrieved the cash, Milwaukee Suspect

#1 and Milwaukee Suspect #2 fled on foot to a vehicle waiting in the parking lot.

       17.     A witness who observed the incident, D.E. (X/XX/1979) advised that a male

individual was driving the vehicle that was waiting in the parking lot, but did not provide a

description of the male. He described the vehicle as a small gray four-door sedan. Milwaukee

Suspect #1 entered the back seat and Milwaukee Suspect #2 entered the front passenger seat of the

vehicle. The vehicle then fled eastbound on National Avenue.

       18.     Surveillance video corroborates the accounts of the store employees and the

witness.

       19.     Milwaukee Suspect #1 was described as a black female, approximately 5’05”,

medium build, approximately 30-35 years of age. She was wearing a black beanie, black jacket,

black pants, black gloves, white shoes, and a black face mask. She was armed with a black handgun

with a silver ejection port. Milwaukee Suspect #1 closely matches the physical and clothing

description of Germantown Suspect #1 from the December 23, 2020 Germantown Speedway

robbery.

       20.     Milwaukee Suspect #2 was described as a black female, approximately 5’06” to

5’07”, stocky build, with a lighter brown skin tone. She was wearing black hooded sweatshirt with

the hood up and a white t-shirt showing under it, a gray beanie, black pants, black and white shoes,

and a gray face mask. Milwaukee Suspect #2 closely matches the physical and clothing description

of Germantown Suspect #2 from the December 23, 2020 Germantown Speedway robbery.




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       21.     Surveillance footage from the exterior of the Walgreens showed that the vehicle

used in the getaway was a small silver sedan with heavy window tint.

                          December 28, 2020 – Greenfield Speedway


       22.     On December 28, 2020, at approximately 7:49PM, two masked individuals entered

the Speedway located at 3390 West Loomis Road, Greenfield, Wisconsin. Greenfield Suspect #1

approached the cashier, M.S. (XX/XX/1996), displayed a black handgun that was in her jacket

pocket, and said, “Hurry up and open the register.” M.S. opened the register and Greenfield

Suspect #1 walked around the counter and took the money out of the register. During this incident,

Greenfield Suspect #2 was standing at the front door acting as a lookout. When Greenfield Suspect

#1 removed the cash from the register, both she and Greenfield Suspect #2 fled on foot from the

business.

       23.     Greenfield Suspect #1 obtained $273.68 from the register.

       24.     Surveillance footage from the Speedway corroborates the account of M.S.

       25.     Greenfield Suspect #1 was described as a black female, approximately 5’05”, with

a stocky build. She was wearing a black jacket, black pants, black beanie, white shoes, and a black

face mask. She was armed with a black handgun with a silver ejection port. Greenfield Suspect #1

closely matches the physical and clothing description of Germantown Suspect #1 from the

December 23, 2020 Germantown Speedway robbery.

       26.     Greenfield Suspect #2 was described as a black female, approximately 5’06”, with

a stocky build and a light skin tone. She was wearing a black jacket, black pants, gray beanie, gray

face mask, and black and white shoes. Greenfield Suspect #2 closely matches the physical and

clothing description of Germantown Suspect #2 from the December 23, 2020 Germantown

Speedway robbery.



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       27.     During the incident a witness, R.S. (XX/XX/1991), was standing in the store and

observed the robbery as it occurred. R.S. observed Greenfield Suspect #1 and Greenfield Suspect

#2 exit the store and run behind the business via the alleyway. He then observed a silver Hyundai

sedan with heavy tinted windows exit the alleyway with its headlights off. R.S. followed the

vehicle as it turned west onto West Loomis Road. He observed the vehicle turn west onto West

Plainfield Avenue, while R.S. continued straight, knowing that W Plainfield Avenue was a dead-

end street. R.S. then called the police and advised police of what he observed.

                                        Arrest of Berdashia DAVIS

       28.     At approximately 7:55 p.m., approximately sic (6) minutes after the Greenfield

Speedway robbery occurred, officers from the Greenfield Police Department observed a silver

Hyundai Sonata with heavy window tint parked on West Plainfield Avenue at the end of the cul-

de-sac. As officers parked their vehicles and began to give commands, they observed an individual

run from the passenger side of the vehicle into the woods. Officers were unable to apprehend this

individual.

       29.     Officers approached the vehicle and observed an individual, later determined to be

Berdashia DAVIS, sitting in the driver’s seat. Officers took B. DAVIS into custody. When officers

looked inside the vehicle, they observed a large number of US currency bills on the floorboard of

the front passenger seat and a handgun in the front passenger side door pocket of the vehicle.

Officers determined the amount of money on the floorboard of the vehicle to be $276.00. When

officers removed the handgun from the vehicle, they observed that it was a Taurus G2C 9mm

pistol, black with a silver ejection port; identical to the pistol used in the above four robberies.

       30.     In the vehicle, officers also located a green winter jacket in the passenger seat.

Inside a pocket of the winter jacket was a magazine belonging to the Taurus G2C that was loaded

with eight rounds of ammunition. Officers also located one white athletic shoe, matching the shoes

                                                   7

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worn by Greenfield Suspect #1, and black gloves which also match the gloves worn by Greenfield

Suspect #1.

       31.    Officers then located two cell phones in the vehicle. One of the cell phones, a rose

iPhone in a blue case, was voluntarily claimed by B. DAVIS. B. DAVIS advised that her phone

number was 414-552-9158, which was corroborated when detectives conducted a court ordered

phone extraction. B. DAVIS told detectives that the second phone, a white iPhone in a green and

black case, belonged to her mother, Y.P., who maintains phone number 414-554-7312. After a

court ordered phone extraction, it was discovered that the number belonging to the cell phone was

actually 414-614-3210. A search of law enforcement databases showed that the phone number

414-614-3210 is registered to Shalonda DAVIS.

       32.    After B. DAVIS was taken into custody, officers requested a K-9 track of the area.

Approximately 30-40 feet from the vehicle, officers located a black backpack abandoned in the

woods. The backpack contained clothing consisting of a black sweatshirt, black pants, black Nike

shoes with white soles, and a credit/debit card issued to B. DAVIS. The clothing located in the

backpack is consistent with the clothing worn by Greenfield Suspect #2.

                                      Butler Anonymous Caller

       33.    On December 30, 2020, Butler Police Department Dispatch received a call from an

anonymous caller. The anonymous caller advised that they knew the individuals who robbed the

Fuel Stop and that they have photographs of both suspects and are friends with them on social

media. The anonymous caller advised that one of the suspects was Shalonda DAVIS. The

anonymous caller did not know the name of the second suspect but advised that her Facebook

name was “Ddae Loving Gray Davis”.

       34.    TFO Strasser queried Facebook.com and located the name “Ddae Loving Bray

Davis”, which returned the account: facebook.com/ddae.davis. The Facebook user ID associated

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with this account is: 100005742911779. A review of the publicly viewable postings revealed

multiple pictures matching the physical description of Butler Suspect #1 and Greenfield Suspect

#2, as well as the known photographs of B. DAVIS, which were previously located in the various

law enforcement databases.

       35.     TFO Strasser then conducted a publicly viewable search of B. DAVIS’s Facebook

friends and located Shalonda DAVIS’s Facebook page. The page returned to the account:

facebook.com/ske.davis.9. The Facebook User ID associated with this account is:

100054748757691. A review of the publicly viewable postings associated with this account

revealed multiple pictures matching the physical description of Butler Suspect #2 and Greenfield

Suspect #1, as well as the known photographs of S. DAVIS, which were previously located in the

various law enforcement databases.

III.   FACEBOOK INFORMATION

       36.     Facebook owns and operates a free-access social networking website of the same

name that can be accessed at http://www.facebook.com. Facebook allows its users to establish

accounts with Facebook, and users can then use their accounts to share written news, photographs,

videos, and other information with other Facebook users, and sometimes with the general public.

       37.     Facebook asks users to provide basic contact and personal identifying information

to Facebook, either during the registration process or thereafter. This information may include the

user’s full name, birth date, gender, contact e-mail addresses, Facebook passwords, Facebook

security questions and answers (for password retrieval), physical address (including city, state, and

zip code), telephone numbers, screen names, websites, and other personal identifiers. Facebook

also assigns a user identification number to each account.

       38.     Facebook users may join one or more groups or networks to connect and interact

with other users who are members of the same group or network. Facebook assigns a group

                                                 9

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identification number to each group. A Facebook user can also connect directly with individual

Facebook users by sending each user a “Friend Request.” If the recipient of a “Friend Request”

accepts the request, then the two users will become “Friends” for purposes of Facebook and can

exchange communications or view information about each other. Each Facebook user’s account

includes a list of that user’s “Friends” and a “News Feed,” which highlights information about the

user’s “Friends,” such as profile changes, upcoming events, and birthdays.

       39.     Facebook users can select different levels of privacy for the communications and

information associated with their Facebook accounts. By adjusting these privacy settings, a

Facebook user can make information available only to himself or herself, to particular Facebook

users, or to anyone with access to the Internet, including people who are not Facebook users. A

Facebook user can also create “lists” of Facebook friends to facilitate the application of these

privacy settings. Facebook accounts also include other account settings that users can adjust to

control, for example, the types of notifications they receive from Facebook.

       40.     Facebook users can create profiles that include photographs, lists of personal

interests, and other information. Facebook users can also post “status” updates about their

whereabouts and actions, as well as links to videos, photographs, articles, and other items available

elsewhere on the Internet. Facebook users can also post information about upcoming “events,”

such as social occasions, by listing the event’s time, location, host, and guest list. In addition,

Facebook users can “check in” to particular locations or add their geographic locations to their

Facebook posts, thereby revealing their geographic locations at particular dates and times. A

particular user’s profile page also includes a “Wall,” which is a space where the user and his or

her “Friends” can post messages, attachments, and links that will typically be visible to anyone

who can view the user’s profile.




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       41.     Facebook allows users to upload photos and videos, which may include any

metadata such as location that the user transmitted when s/he uploaded the photo or video. It also

provides users the ability to “tag” (i.e., label) other Facebook users in a photo or video. When a

user is tagged in a photo or video, he or she receives a notification of the tag and a link to see the

photo or video. For Facebook’s purposes, the photos and videos associated with a user’s account

will include all photos and videos uploaded by that user that have not been deleted, as well as all

photos and videos uploaded by any user that have that user tagged in them.

       42.     Facebook users can exchange private messages on Facebook with other users.

These messages, which are similar to e-mail messages, are sent to the recipient’s “Inbox” on

Facebook, which also stores copies of messages sent by the recipient, as well as other information.

Facebook users can also post comments on the Facebook profiles of other users or on their own

profiles; such comments are typically associated with a specific posting or item on the profile. In

addition, Facebook has a Chat feature that allows users to send and receive instant messages

through Facebook. These chat communications are stored in the chat history for the account.

Facebook also has a Video Calling feature, and although Facebook does not record the calls

themselves, it does keep records of the date of each call.

       43.     If a Facebook user does not want to interact with another user on Facebook, the

first user can “block” the second user from seeing his or her account.

       44.     Facebook has a “like” feature that allows users to give positive feedback or connect

to particular pages. Facebook users can “like” Facebook posts or updates, as well as webpages or

content on third-party (i.e., non-Facebook) websites. Facebook users can also become “fans” of

particular Facebook pages.

       45.     Facebook has a search function that enables its users to search Facebook for

keywords, usernames, or pages, among other things.

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          46.   Each Facebook account has an activity log, which is a list of the user’s posts and

other Facebook activities from the inception of the account to the present. The activity log includes

stories and photos that the user has been tagged in, as well as connections made through the

account, such as “liking” a Facebook page or adding someone as a friend. The activity log is

visible to the user but cannot be viewed by people who visit the user’s Facebook page.

          47.   Facebook Notes is a blogging feature available to Facebook users, and it enables

users to write and post notes or personal web logs (“blogs”), or to import their blogs from other

services, such as Xanga, LiveJournal, and Blogger.

          48.   The Facebook Gifts feature allows users to send virtual “gifts” to their friends that

appear as icons on the recipient’s profile page. Gifts cost money to purchase, and a personalized

message can be attached to each gift. Facebook users can also send each other “pokes,” which are

free and simply result in a notification to the recipient that he or she has been “poked” by the

sender.

          49.   Facebook also has a Marketplace feature, which allows users to post free classified

ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.

          50.   In addition to the applications described above, Facebook also provides its users

with access to thousands of other applications (“apps”) on the Facebook platform. When a

Facebook user accesses or uses one of these applications, an update about that the user’s access or

use of that application may appear on the user’s profile page.

          51.   Some Facebook pages are affiliated with groups of users, rather than one individual

user. Membership in the group is monitored and regulated by the administrator or head of the

group, who can invite new members and reject or accept requests by users to enter. Facebook can

identify all users who are currently registered to a particular group and can identify the

administrator and/or creator of the group. Facebook uses the term “Group Contact Info” to

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describe the contact information for the group’s creator and/or administrator, as well as a PDF of

the current status of the group profile page.

       52.     Facebook uses the term “Neoprint” to describe an expanded view of a given user

profile. The “Neoprint” for a given user can include the following information from the user’s

profile: profile contact information; News Feed information; status updates; links to videos,

photographs, articles, and other items; Notes; Wall postings; friend lists, including the friends’

Facebook user identification numbers; groups and networks of which the user is a member,

including the groups’ Facebook group identification numbers; future and past event postings;

rejected “Friend” requests; comments; gifts; pokes; tags; and information about the user’s access

and use of Facebook applications.

       53.     Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP address.

These logs may contain information about the actions taken by the user ID or IP address on

Facebook, including information about the type of action, the date and time of the action, and the

user ID and IP address associated with the action. For example, if a user views a Facebook profile,

that user’s IP log would reflect the fact that the user viewed the profile, and would show when and

from what IP address the user did so.

       54.     Social networking providers like Facebook typically retain additional information

about their users’ accounts, such as information about the length of service (including start date),

the types of service utilized, and the means and source of any payments associated with the service

(including any credit card or bank account number). In some cases, Facebook users may

communicate directly with Facebook about issues relating to their accounts, such as technical

problems, billing inquiries, or complaints from other users. Social networking providers like

Facebook typically retain records about such communications, including records of contacts




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between the user and the provider’s support services, as well as records of any actions taken by

the provider or user as a result of the communications.

       55.     As explained herein, information stored in connection with a Facebook account

may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience, a

Facebook user’s “Neoprint,” IP log, stored electronic communications, and other data retained by

Facebook, can indicate who has used or controlled the Facebook account. This “user attribution”

evidence is analogous to the search for “indicia of occupancy” while executing a search warrant

at a residence. For example, profile contact information, private messaging logs, status updates,

and tagged photos (and the data associated with the foregoing, such as date and time) may be

evidence of who used or controlled the Facebook account at a relevant time. Further, Facebook

account activity can show how and when the account was accessed or used. For example, as

described herein, Facebook logs the Internet Protocol (IP) addresses from which users access their

accounts along with the time and date. By determining the physical location associated with the

logged IP addresses, investigators can understand the chronological and geographic context of the

account access and use relating to the crime under investigation. Such information allows

investigators to understand the geographic and chronological context of Facebook access, use, and

events relating to the crime under investigation. Additionally, Facebook builds geo-location into

some of its services. Geo-location allows, for example, users to “tag” their location in posts and

Facebook “friends” to locate each other. This geographic and timeline information may tend to

either inculpate or exculpate the Facebook account owner. Last, Facebook account activity may

provide relevant insight into the Facebook account owner’s state of mind as it relates to the offense

under investigation. For example, information on the Facebook account may indicate the owner’s

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motive and intent to commit a crime (e.g., information indicating a plan to commit a crime), or

consciousness of guilt (e.g., deleting account information in an effort to conceal evidence from

law enforcement).

         56.   Therefore, the computers of Facebook are likely to contain all the material

described above, including stored electronic communications and information concerning

subscribers and their use of Facebook, such as account access information, transaction information,

and other account information.

IV.      INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

         57.   I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant to

require Facebook to disclose to the government copies of the records and other information

(including the content of communications) particularly described in Section I of Attachment B.

Upon receipt of the information described in Section I of Attachment B, government-authorized

persons will review that information to locate the items described in Section II of Attachment.

V.       CONCLUSION

         58.   Based upon the facts contained within this affidavit, I believe that probable cause

exists to search Berdashia DAVIS’s Facebook Account and Shalonda DAVIS’s Facebook Account

for further evidence of theirs and others’ involvement in the armed Hobbs Act robberies described

above.




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                                      ATTACHMENT A
Property to Be Searched

       To the extent that the information described in Attachment B is within the possession,

custody, or control of Facebook, Facebook is required to disclose to the government the

information for the following accounts and dates:


 FACEBOOK NAME            FACEBOOK IDENTIFICATION           DATES
                          (UID)
 Ddae loving Bray         100005742911779                   December 01, 2019 to the Present
 Davis

 Monea Boyd               100054748757691                   December 01, 2019 to the Present




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                                       ATTACHMENT B
                                 Particular Things to be Seized

I.     Information to be disclosed by Facebook

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Facebook, including any messages, records, files, logs, or information that

have been deleted but are still available to Facebook, or have been preserved pursuant to a request

made under 18 U.S.C. § 2703(f), Facebook is required to disclose the following information to the

government for each user ID listed in Attachment A:

       a.      All contact and personal identifying information, including: full name, user

               identification number, birth date, gender, contact e-mail addresses, Facebook

               passwords, Facebook security questions and answers, physical address (including

               city, state, and zip code), telephone numbers, screen names, websites, and other

               personal identifiers.

       b.      All activity logs for the account and all other documents showing the user’s posts

               and other Facebook activities;

       c.      All photos uploaded by that user ID and all photos uploaded by any user that have

               that user tagged in them;

       d.      All profile information; News Feed information; status updates; links to videos,

               photographs, articles, and other items; Notes; Wall postings; friend lists, including

               the friends’ Facebook user identification numbers; groups and networks of which

               the user is a member, including the groups’ Facebook group identification numbers;

               future and past event postings; rejected “Friend” requests; comments; gifts; pokes;

               tags; and information about the user’s access and use of Facebook applications;




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       e.       All other records of communications and messages made or received by the user,

                including all private messages, chat history, video calling history, and pending

                “Friend” requests;

       f.       All “check ins” and other location information;

       g.       All IP logs, including all records of the IP addresses that logged into the account;

       h.       All records of the account’s usage of the “Like” feature, including all Facebook

                posts and all non-Facebook webpages and content that the user has “liked”;

       i.       All information about the Facebook pages that the account is or was a “fan” of;

       j.       All past and present lists of friends created by the account;

       k.       All records of Facebook searches performed by the account;

       l.       All information about the user’s access and use of Facebook Marketplace;

       m.       The types of service utilized by the user;

       n.       The length of service (including start date) and the means and source of any

                payments associated with the service (including any credit card or bank account

                number);

       o.       All privacy settings and other account settings, including privacy settings for

                individual Facebook posts and activities, and all records showing which Facebook

                users have been blocked by the account;

       p.       All records pertaining to communications between Facebook and any person

                regarding the user or the user’s Facebook account, including contacts with support

                services and records of actions taken.

II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence, and

instrumentalities of violations of 18 U.S.C. §§ 1951(a) (Hobbs Act robbery) and 18 U.S.C. 924(c)

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(use of firearm during a crime of violence), since December 01, 2019, for the user ID’s identified

on Attachment A, information pertaining to the following matters:

           (a) The relevant offense conduct, any preparatory steps taken in furtherance of the

               criminal scheme, and communications between Berdashia DAVIS, Shalonda

               DAVIS, and others related to the relevant offense conduct of robbery or Berdashia

               DAVIS’s or Shalonda DAVIS’s possession of a firearm.

           (b) Evidence indicating how and when the Facebook account was accessed or used, to

               determine the chronological and geographic context of account access, use, and

               events relating to the crime under investigation and to the Facebook account owner;

           (c) Evidence indicating the Facebook account owner’s state of mind as it relates to the

               crimes under investigation;

           (d) The identity of the person(s) who created or used the user ID; and

           (e) The identity of the person(s) who communicated with the user ID about matters

               relating to relevant offense conduct of robbery.




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